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                                                               IN THE UNITED STATES BANKRUPTCY COURT
                                                                    FOR THE DISTRICT OF PUERTO RICO

 In Re:                                                                            Case No.:
 PABLO ROSA MARTINEZ
                                                                                   Chapter 13
 XXX-XXX-5895
                                                                                         Check if this is a pre-confirmation amended plan

                                                                                         Check if this is a post confirmation amended plan
                                                                                         Proposed by:
 Puerto Rico Local Form G                                                                          Debtor(s)
                                                                                                   Trustee
                                                                                                   Unsecured creditor(s)
 Chapter 13 Plan dated                       January 13, 2018
                                                                                         If this is an amended plan, list below the sections of the plan that have
                                                                                         been changed.




PART 1: Notices

To Debtor(s):              This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                           indicate that the option is appropriate in your circumstances or that it is permissible in your judicial district. Plans that
                           do not comply with local rules and judicial rulings may not be confirmable.

                           In the following notice to creditors, you must check each box that applies

To Creditors:              Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

                           You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have
                           an attorney, you may wish to consult one. The headings contained in this plan are inserted for reference purposes only and shall
                           not affect the meaning or interpretation of this plan.

                           If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection
                           to confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the
                           Bankruptcy Court. The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed.
                           See Bankruptcy Rule 3015. In addition, you must file a timely proof of claim in order to be paid under this plan, unless ordered
                           otherwise.

                           The following matters may be of particular importance. Debtor(s) must check one box on each line to state whether or not the
                           plan includes each of the following items. If an item is checked as “Not included” or if both boxes are checked, the provision
                           will be ineffective if set out later in the plan.

                           If a claim is withdrawn by a creditor or amended to an amount less than the amount already disbursed under the plan on
                           account of such claim: (1) The trustee is authorized to discontinue any further disbursements to related claim; (2) The sum
                           allocated towards the payment of such creditor’s claim shall be disbursed by the trustee to Debtor’s remaining creditors. (3) If
                           such creditor has received monies from the trustee (Disbursed Payments), the creditor shall return funds received in excess of the
                           related claim to the trustee for distribution to Debtor’s remaining creditors. (4) If Debtor has proposed a plan that repays his or
                           her creditors in full, funds received in excess of the related claim shall be returned to the Debtor.

 1.1         A limit on the amount of a secured claim, set out in Section 3.2, which may result in                 Included                     Not Included
             a partial payment or no payment at all to the secured creditor
 1.2         Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest,                   Included                     Not Included
             set out in Section 3.4.
 1.3         Nonstandard provisions, set out in Part 8.                                                            Included                     Not Included


PART 2: Plan Payments and Length of Plan

2.1          Debtor(s) will make payments to the trustee as follows:

 PMT Amount                   Period(s)           Period(s) Totals                              Comments
                      $200.00 Months 1 through 12                                 $2,400.00
                      $325.00 Months 13 through                                   $7,800.00
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                                     36

                 $525.00 Months 37 through                                      11550.00
                             59
                    600.00 60 TH MONTH                                            $600.00
            SUBTOTAL                                                           $22,350.00
Insert additional lines if needed

             If fewer than 60 months of payments are specified, additional monthly payments will be made to the extent necessary to make the
             payments to creditors specified in this plan.

2.2          Regular payments to the trustee will be made from future income in the following manner:

             Check all that apply
                    Debtor(s) will make payments pursuant to a payroll deduction order.
                    Debtor(s) will make payments directly to the trustee.
                    Other (specify method of payment):

2.3          Income tax refunds:

             Debtor(s) will supply the trustee with a copy of each income tax return filed during the plan term within 14 days of filing the return and
             will comply with 11 U.S.C. § 1325(b)(2). If the Debtor(s) need(s) to use all or a portion of such “Tax Refunds,” Debtor(s) shall seek court
             authorization prior to any use thereof.

2.4          Additional payments:

             Check one.
                     None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.

PART3: Treatment of Secured Claims

3.1          Maintenance of payments and cure of default, if any.

             Check one.
                     None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.

3.2          Request for valuation of security, payment of fully secured claims, and modification of undersecured claims.

             Check one.

                          None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.

3.3          Secured claims excluded from 11 U.S.C. § 506.

             Check one.
                     None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.

3.4          Lien Avoidance.

             Check one.
                     None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.

3.5          Surrender of collateral.

             Check one.
                     None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.

3.6          Pre-confirmation adequate protection monthly payments (“APMP”) to be paid by the trustee.

                  Payments pursuant to 11 USC §1326(a)(1)(C):



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 Name of secured creditor                                            $ Amount of APMP                         Comments


 -NONE-

             Insert additional claims as needed.

             Pre-confirmation adequate protection payments made through the plan by the trustee are subject to the corresponding statutory fee.

3.7          Other secured claims modifications.

             Check one.

                          None. If “None” is checked, the rest of § 3.7 need not be completed or reproduced.

PART 4: Treatment of Fees and Priority Claims

4.1        General
Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid in full without
postpetition interest.

4.2        Trustee’s fees
Trustee’s fees are governed by statute and may vary during the term of the plan, nevertheless are estimated for confirmation purposes to be 10 % of
all plan payments received by the trustee during the plan term.

4.3          Attorney’s fees

             Check one.

               Flat Fee: Attorney for Debtor(s) elect to be compensated as a flat fee for their legal services, up to the plan confirmation, according to
             LBR 2016-1(f).

OR

                Fee Application: The attorneys’ fees amount will be determined by the court, upon the approval of a detailed application for fees and
             expenses, filed not later than 14 days from the entry of the confirmation order.

                              Attorney’s fees paid pre-petition:                                                                    $ 965.00
                              Balance of attorney’s fees to be paid under this plan are estimated to be:                            $ 2,335.00
                              If this is a post-confirmation amended plan, estimated attorney’s fees:                               $

4.4          Priority claims other than attorney’s fees and those treated in §§ 4.5, 4.6

             Check one.
                     None. If “None” is checked, the rest of § 4.4 need not be completed or reproduced.

                          The Debtor(s) estimate the total amount of other priority claims to be $17,850.00

              Name of priority creditor                                                              Estimate amount of claim to be paid
              YAKIRMA DELGADO GONZALEZ                                                               $17,850.00

Insert additional claims as needed.

4.5          Domestic support obligations assigned or owed to a governmental unit and paid less than full amount.

             Check one.
                     None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.



4.6          Post confirmation property insurance coverage
             Check one.
                      None. If “None” is checked, the rest of § 4.6 need not be completed or reproduced.

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PART 5: Treatment of Nonpriority Unsecured Claims

5.1          Nonpriority unsecured claims not separately classified.

             Allowed nonpriority unsecured claims that are not separately classified will be paid pro rata. If more than one option is checked, the option
             providing the largest payment will be effective.

      Check all that apply.

                The sum of $         .
                      % of the total amount of these claims, an estimated payment of $        .
                The funds remaining after disbursements have been made to all other creditors provided for in this plan.
                If the estate of the debtor(s) were liquidated under chapter 7, nonpriority unsecured claims would be paid approximately $          .

5.2          Maintenance of payments and cure of any default on nonpriority unsecured claims.

             Check one.

                          None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.

5.3          Other separately classified nonpriority unsecured claims.
             Check one.

                          None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.

PART 6: Executory Contracts and Unexpired Leases

6.1          The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory contracts and
             unexpired leases are rejected.

             Check one.

                          None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.



PART 7: Vesting of Property of the Estate & Plan Distribution Order

7.1        Property of the estate will vest in the debtor(s) upon
      Check the appliable box:
            Plan confirmation.
            Entry of discharge.
            Other:

7.2          Plan distribution by the trustee will be in the following order:
             (The numbers below reflect the order of distribution; the same number means prorated distribution among claims with the same number.)

             1. Distribution on Adequate Protection Payments (Part 3, Section 3.6)
             1. Distribution on Attorney’s Fees (Part 4, Section 4.3)
             1. Distribution on Secured Claims (Part 3, Section 3.1) – Current contractual installment payments
             2. Distribution on Post Confirmation Property Insurance Coverage (Part 4, Section 4.6)
             2. Distribution on Secured Claims (Part 3, Section 3.7)
             2. Distribution on Secured Claims (Part 3, Section 3.1) – Arrearage payments
             3. Distribution on Secured Claims (Part 3, Section 3.2)
             3. Distribution on Secured Claims (Part 3, Section 3.3)
             3. Distribution on Secured Claims (Part 3, Section 3.4)
             3. Distribution on Unsecured Claims (Part 6, Section 6.1)
             4. Distribution on Priority Claims (Part 4, Section 4.4)
             5. Distribution on Priority Claims (Part 4, Section 4.5)
             6. Distribution on Unsecured Claims (Part 5, Section 5.2)
             6. Distribution on Unsecured Claims (Part 5, Section 5.3)

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             7. Distribution on General Unsecured claims (Part 5, Section 5.1)

             Trustee’s fees are disbursed before each of the distributions above described pursuant to 28 U.S.C. § 586(e)(2).

PART 8: Nonstandard Plan Provisions

8.1       Check "None" or List the nonstandard plan provisions
                     None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.
Insert additional lines as needed.

PART 9: Signature(s)

       /s/ MIRIAM LOZADA RAMIREZ                                           Date    January 13, 2018
       MIRIAM LOZADA RAMIREZ 208403
       Signature of Attorney of Debtor(s)

       /s/ PABLO ROSA MARTINEZ                                             Date       JANUARY 13,208
       PABLO ROSA MARTINEZ



By filing this document, the attorney for Debtor(s) or Debtor(s) themselves, if not represented by an attorney, also certify(ies) that the
wording and order of the provisions in this chapter 13 plan are identical to those contained in Official Form 113, other than any
nonstandard provisions included in Part 8.




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